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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


TAMMY SHIVE-AYALA,

               Plaintiff,
                                                      Case No. 21-cv-00704
       vs.

WAYNE PACELLE, MARTY IRBY, and
ANIMAL WELLNESS ACTION
FOUNDATION,


               Defendants.


     DEFENDANTS' REPLY BRIEF IN SUPPORT OF MOTION FOR SANCTIONS
             UNDER FEDERAL RULE OF CIVIL PROCEDURE 11


                                           INTRODUCTION

       The central fact of this case is simple: the allegedly defamatory statements that underlie

Tammy Shive-Ayala’s suit are taken directly from her own repeated admissions of her

involvement in cockfighting, made in the videos linked in the Investigative Report and otherwise

reported in the materials of record. Shive-Ayala makes it clear in the videos and in her recently

filed declaration that her business is selling birds to people engaged in cockfighting. Despite her

own words, Shive-Ayala and her counsel continue pursuing the factually baseless idea that

Defendants somehow defamed her by pointing out these realities in their Investigative Report. This

is a meritless lawsuit, one that never should have been filed. The time to end it is now, with a

strong admonition to Plaintiff and her counsel, through entry of sanctions, that this Court will not

be used as a cudgel for harassment.
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                                           ARGUMENT

I.     THE CONTROLLING LEGAL STANDARD UNDER FED. R. CIV. P. 11(B)(3)
       REQUIRES AN INQUIRY REASONABLE UNDER THE CIRCUMSTANCES.

       Shive-Ayala and her counsel violated Fed. R. Civ. P. 11(b)(3) by filing this case. That rule

states that an attorney or an unrepresented party certifies to the court that “the factual contentions

[in a pleading, written motion, or other paper] have evidentiary support or, if specifically so

identified, will likely have evidentiary support after a reasonable opportunity for further

investigation or discovery.” (See Dkt. 16 at p.7; emphasis added.) Rule 11 requires reasonableness,

judged by an objective standard. See Reynolds v. U.S. Capitol Police Bd., 357 F. Supp. 2d 19, 23

(D.D.C. 2004). Counsel must conduct some prefiling inquiry into both the facts and the law to

satisfy the affirmative duty imposed by the rule. Sanctions are warranted when the claimant

exhibits “deliberate indifference to obvious facts.” Baker v. Alderman, 158 F.3d 516, 524 (11th

Cir. 1998) (internal quotes omitted). Considering the basis for her defamation claim is an

Investigative Report that rests on Shive-Ayala’s own statements, and that information was publicly

available to counsel and obviously known by Shive-Ayala prior to litigation, it is not hard to

conclude that there was no inquiry, let alone a reasonable one, before filing suit.

II.    SHIVE-AYALA ASSERTS A DEFAMATION CLAIM BASED ON DEFENDANTS
       CALLING ATTENTION TO PLAINTIFF’S OWN REPEATED ADMISSIONS TO
       HER SUCCESS IN COCKFIGHTING AND THE BREEDING OF BIRDS FOR USE
       IN COCKFIGHTING OUTSIDE THE UNITED STATES.

       Tammy Shive-Ayala is famous in the world of cockfighting. She is a well-known breeder

because her birds continue to win. As she admits, cockfighting birds are “typically bred and raised

for the purpose … [of] combat in a pit.” (Shive-Ayala Decl. ¶ 3.) In response to this motion, Shive-

Ayala even claims she “breed[s] birds for genetic improvement” and “look[s] for qualities that are

intended to make the offspring of [her] birds top tier contenders in cockfighting.” (Id. at ¶ 11; Dkt.

18 at p. 1.) As the record demonstrates, she has further boasted about her success in numerous


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interviews with cockfighting publications, posted photos with her many trophies, and is tagged in

Facebook posts showing her involvement with such successes. This is all information that Plaintiff

knows, has knowingly broadcasted in public spheres in the recent past, and that her lawyer should

have known before filing this lawsuit.

       Counsel should be sanctioned for bringing this suit because Plaintiff is claiming her own

words are defamatory. The Press Release and Investigative Report alone produced enough

information to support that Plaintiff could never succeed on her defamation claim even before

Defendants conducted a basic Internet search to find Plaintiff’s self-incriminating interviews.

Indeed, conducting a simple search, such as typing the Plaintiff’s name into Google, would have

produced the same results the Defendants relied on in the Investigative Report and that support

this motion and the dispositive motions previously filed by the Defendants.

       Defendants call attention to Shive-Ayala’s own words, behaviors, and accomplishments in

the cockfighting world because those facts are inconsistent with the idea that Defendants defamed

her by publishing the Investigative Report. Shive-Ayala’s attempt to whitewash her frequent media

appearances and her specific words and actions is nonsensical. [Dkt. 18, Section A.] If she was

just breeding birds “for genetic improvement,” she would not have numerous trophies. There are

no trophies for breeding roosters. There is no “sport” of breeding roosters for genetic improvement.

Cockfighting is a sport. And when she speaks about her business, she is speaking about her

involvement in the sport, not her work as a breeder. (SMF ¶¶ 78, 87, 93, 109 [Dkt. 9].)

       Not only should counsel be sanctioned for bringing this suit, Shive-Ayala should also be

sanctioned because she is simply using this Court for political gain as she has tied this lawsuit to

her political ideology on animal fighting. See Saltany v. Reagan, 886 F.2d 438, 440 (D.C. Cir.

1989) (pursing litigation purely on political objectives can violate Rule 11). Shive-Ayala continues




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to use this Court as a political tool, even after receiving Defendants’ motion to dismiss and a Rule

11 Safe Harbor submission suggesting that the case be dismissed. Indeed, Shive-Ayala has long

expressed her political opinions on the laws surrounding cockfighting in the United States. For

example, her statements to Tukaan urging viewers to oppose legislation that would make

cockfighting illegal (SMF ¶ 88 [Dkt. 9 at p. 15]), and her statement to Purebred Warrior that the

American game fowl industry was “lost” when the last state made cockfighting illegal (SMF ¶ 93

[Dkt. 9 at p. 16]), demonstrates her acute awareness of her role as a self-declared spokesperson for

the cockfighting industry.

       The Court has ample authority to hold the Plaintiff herself accountable—not just her

lawyer. Shive-Ayala has now declared under oath that her five lines of breeding birds, including

her Radios, are “never actually entered into a fighting pit” (Shive-Ayala Decl. ¶ 20) and that

“fighting birds are hybrid birds” (Id. at ¶ 18). But this flatly contradicts her 2017 BNTV interview

where she had the following exchange on camera:

       Q: Would you suggest we breed the Radios also, or Sweaters back home?

       A: Oh absolutely, yeah. The Radio is not a big seller because the Radio has never been
       really pretty. They’re not the real beautiful bird to look at. They’ve got kinda a big head,
       short feathers, but they are excellent cutters.

       Q: Do they break?

       A: They do break. They are breakers and cutters.

(SMF ¶¶ 103-05 [Dkt. 9 at p. 19].) Nowhere has Shive-Ayala contested these statements and she

is stuck with them on this motion, which directly contradict what she has said under oath.

       Similarly, in her 2019 Purebred Warrior interview article she was asked: “What are

bloodlines you possess that are highly competitive in long knife style of fighting?” in which she

responded: “The bloodlines we have are Sweater, Radio, Yellow-legged hatch, Kelso, Bates Hatch,




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Leiper Hatch, and Manzel Grey.” (SMF ¶ 95 [Dkt. 9 at p. 17].) Similarly, she attested that she

“raise[s] pure bred birds. For a bird to be considered pure it must be line-bred and in-bred on both

the rooster and hen sides.” (Shive-Ayala Decl. ¶ 10.) But in the same Purebred Warrior interview,

she stated: “Now we raise somewhere around 1000 stags per season 500 pure, 500 crosses that’s

penned numbers, so we usually hatch around 2500” and “My favourite [sic] cross is 1/2 Radio 1/4

Sweater 1/4 Kelso for the Philippines.”

         While Shive-Ayala declared that she “has not sponsored or fought a bird in a cockfight

since 2007” (Shive-Ayala Decl. ¶ 6), the record of her own statements —which Plaintiff has

failed to contest —amply demonstrates that is a falsehood. Three Filipino publications, The

Standard, The Philippines Star, and The Manilla Bulletin, published stories about Shive-Ayala

stating: “Highly respected American lady game fowl breeder Tammy Shive of Green River Farm

in Kentucky is all set for the upcoming 2016 World Slasher Cup-2 with her partner Pao Malvar of

Sunhaven Gamefarm in Tarlac. Together, they will pit their entries using Shive[-Ayala]’s famed

Sweaters.” (SMF ¶¶ 107-11; emphases added.) She could have specified in her statement that she

has not fought birds in a cockfight in the United States since 2007, but she did not. Her prior

public statements render her declaration here of limited evidentiary value on the record before the

Court.

                                          CONCLUSION

         Based on the foregoing, Defendants Wayne Pacelle, Marty Irby, and Animal Wellness

Action (improperly designated in the caption as Animal Wellness Action Foundation) ask the

Court, under Federal Rule of Civil Procedure 11, to sanction Tammy Shive-Ayala and the law firm

of McFadden & Shoreman, LLC by dismissing this lawsuit and awarding Defendants their

attorneys’ fees and costs in defending this case or alternatively order Plaintiff and her counsel to

show cause why their conduct does not violate Federal Rule of Civil Procedure 11(b)(3).


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      Dated this 12th day of November, 2021.


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